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                                Exhibit A

                      Settlement Agreement
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-02768-WJM-STV

  STATE OF COLORADO, and
  JENA GRISWOLD, Colorado Secretary of State,

         Plaintiffs,

  v.

  LOUIS DEJOY, in his official capacity as Postmaster General,
  UNITED STATES POSTAL SERVICE,
  SAMARN S. REED, in his official capacity as Denver, Colorado Postmaster, and
  CHRIS J. YAZZIE, in his official capacity as Albuquerque, New Mexico Postmaster,

         Defendants.


                       STIPULATION AND SETTLEMENT AGREEMENT


         Plaintiffs State of Colorado, and Jena Griswold, Colorado Secretary of State (collectively,

  “Plaintiffs” or “the State”) and Defendants United States Postal Service, and Louis DeJoy,

  Samarn S. Reed, and Chris J. Yazzie, in their official capacities (collectively “Defendants” or

  “USPS”), through their respective undersigned counsel, have agreed to resolve the above-

  captioned case in accordance with the terms set forth below.

                                          BACKGROUND

         1.      This Stipulation and Settlement Agreement (“Agreement”) is of the above-

  captioned lawsuit Plaintiffs filed on September 12, 2020. In the Complaint, Plaintiffs asked the

  Court to halt the distribution, in Colorado, of postcards that USPS prepared and mailed to USPS

  customers across the country. See ECF No. 1 at 3 (hereinafter “Notices”). Plaintiffs filed a

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  motion for a temporary restraining order prohibiting Defendants from delivering the Notices to

  any Colorado household. ECF No. 8.

         2.      The same day, the Court issued a Temporary Restraining Order. ECF No. 11

  (hereinafter “TRO”). The TRO includes, among other things, an order restraining Defendants

  and certain other related parties “from delivering by mail to Colorado households the

  [Notices]….” Id. at 8. Unless extended by the Court, the TRO expires at 11:59 p.m. on

  September 22, 2020. Id.

         3.      After good faith discussions, the parties have agreed that a cooperative resolution

  of this lawsuit will further their shared interests, as expressed above.

                                                TERMS

         1.      The USPS agrees, in consideration for Plaintiff’s commitment below, that:

                 A.      Colorado Undelivered USPS Postcards. The USPS will take all

         reasonable measures not to deliver, to Colorado residents, the Notices that are currently

         undelivered and are currently being held by the USPS in accordance with the TRO. The

         USPS will destroy those collected, undelivered Notices. In addition, the USPS will send

         a certification within 30 days of the execution of this agreement that, to the best of its

         knowledge, USPS has destroyed the Notices.

                 B.      Input on usps.com/votinginfo. The USPS will seek input from the

         Colorado Secretary of State on the website found at usps.com/votinginfo about any

         changes to that website that could aid in avoiding voter confusion relating to use of the

         mails for voting in Colorado. The Colorado Secretary of State and Attorney General, or

         their designee, may make proposals to change the website by sending those proposals to a
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        USPS designee. The USPS will provide the name of that designee to Plaintiffs by Friday,

        September 18, 2020. This USPS designee will be available to receive proposals from the

        Colorado Secretary of State or Attorney General, or their designee, through December

        14, 2020. The USPS retains full editorial control over the website and has full authority

        not to incorporate suggested input or changes from the Colorado Secretary of State or

        Attorney General or their designee, but commits to working in good faith to advance the

        mutual goals of the parties as described herein. If the USPS intends to make changes

        that the State does not assent to, the Colorado Secretary of State or Attorney General, or

        their designee, will inform the USPS designee of the objection, and the USPS will

        embargo and not make those changes for 24 hours. The designees will continue to

        confer in good faith during this period to determine whether the objection can be

        addressed or cured. This settlement agreement does not prohibit the State from going to

        court to raise any objections, and the State reserves all rights to do so.

               C.      Input on USPS Media Campaign. The USPS has developed a multi-part

        media campaign to educate postal customers concerning the use of the mail to vote

        (hereinafter “USPS Media Campaign”). The USPS Media Campaign includes several

        discrete components, including television, radio, print advertisements, and other media.

        USPS agrees as follows as to the USPS Media Campaign.

                       i.      The USPS will, through its designee, provide, by Friday,

               September 18, 2020, to the Colorado Secretary of State and Attorney General, or

               their designee, a list of the items it is planning to issue as part of the USPS Media

               Campaign. If this list is expanded to include any new item, the USPS designee
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              will notify the Colorado designee of the new item.

                     ii.     From Friday, September 18, 2020, through December 14, 2020,

              before public release of any component of the USPS Media Campaign, the USPS

              designee will provide the Colorado Secretary of State and Attorney General, or

              their designee, a copy of the proposed media item. The USPS then will embargo

              and not release that item for 48 hours (the “Media Review Period”), in order to

              allow time for the Colorado Secretary of State and Attorney General, or their

              designee, to provide comments related to whether, in her view, the proposed

              media item may cause voter confusion in Colorado. The USPS designee may

              exchange in a back-and-forth discussion with the Colorado designee during this

              48-hour period.

                     iii.    If after the Media Review Period, the USPS intends to release a

              component that the State does not assent to, the Colorado Secretary of State or

              Attorney General, or their designee, will inform the USPS designee of the

              objection, and the USPS will embargo and not release that item for an additional

              24 hours. The designees will continue to confer in good faith during this period to

              determine whether the objection can be addressed or cured.

                     iv. This process is designed to enable input from the Colorado Secretary

              of State and Attorney General, before a media item is released publicly, on

              whether the proposed media item may create voter confusion in Colorado. The

              USPS retains full editorial control over the item, and has full authority not to

              incorporate suggested input or changes from the Colorado Secretary of State or
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                 Attorney General or designee, but commits to working in good faith to advance

                 the mutual goals of the parties as described herein.

                         v. This settlement agreement does not prohibit the State from going to

                 court to raise any objection, and the State reserves all rights to do so.

         2.      Plaintiffs agree as follows:

                 A.      By September 17, 2020, Plaintiffs will file a stipulation of dismissal

         pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

                 B.      Plaintiffs will attach this stipulation to the publicly-filed notice of

         dismissal. Plaintiffs will not seek a court order adopting the agreement and agree that

         this agreement is contingent on the Court not retaining jurisdiction or adopting this

         stipulation as an order of the Court.

         3.      Each party will bear its own costs and fees.

         4.      The Parties agree that this Agreement shall constitute the whole agreement and

  supersedes any other agreement between the Parties relating to the subject of this Agreement.

  This Agreement may be amended only by a written amendment signed by the Parties. This

  Agreement shall not constitute an admission by any party as to any facts or as to the merits of

  any position taken in the litigation.




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  Respectfully submitted this 17th day of September, 2020.


   s/ Samuel J. Schmidt                                s/ Jena Griswold
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